                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


SCOTTSDALE INSURANCE                                   )
COMPANY,                                               )
                                                       )
Plaintiff,                                             )
                                                       )     NO. 3:21-cv-00368
v.                                                     )
                                                       )     JUDGE ELI RICHARDSON
O’CONNOR’S ENTERPRISES LLC,                            )     MAGISTRATE JUDGE
ET AL.,                                                )     ALISTAIR NEWBERN
                                                       )
Defendants.                                            )



                                       STATUS REPORT

        Come now the parties, Plaintiff Scottsdale Insurance Company, Defendant O’Connor’s

Enterprises LLC d/b/a O’Connor’s Irish Pub & Grill (hereinafter, “O’Connor’s”), and Defendant

Erica Bergdahl (hereinafter, “Ms. Bergdahl”), by and through undersigned counsel, and for their

Status Report, hereby respectfully state as follows:

        Counsel for the parties conferred on June 27, 2023, and are in agreement we have made

substantial progress toward the likely resolution of this matter within the next 60 days.




     Case 3:21-cv-00368 Document 37 Filed 06/28/23 Page 1 of 3 PageID #: 237
                                  Respectfully submitted,


                                  BATSON NOLAN PLC

                            By:    /s/    Suzanne G. Marsh
                                  Suzanne G. Marsh, BPR No. 015555
                                  Jeff T. Goodson, BPR No. 023648
                                  Attorneys for Defendant
                                  O’Connor’s Enterprises LLC
                                  121 South Third Street
                                  Clarksville, TN 37040
                                  (931) 647-1501 (phone)
                                  (931) 553-0153 (facsimile)
                                  sgmarsh@batsonnolan.com
                                  jgoodson@batsonnolan.com


                                  RAINEY, KIZER, REVIERE & BELL, P.L.C.

                          By:     /s/   Bradford D. Box
                                  Bradford D. Box, BPR No. 16596
                                  Attorney for Plaintiff Scottsdale Insurance Co.
                                  209 East Main Street
                                  P.O. Box 1147
                                  Jackson, TN 38302-1147
                                  (731) 423-2414 (phone)
                                  (731) 426-8150 (facsimile)
                                  bbox@raineykizer.com

                                  BURR & FORMAN LLP

                          By:     /s/    J. Alex Little
                                  J. Alex Little, BPR No. 29858
                                  Ross M. Johnson, BPR No. 36067
                                  Zachary C. Lawson, BPR No. 36092
                                  Attorneys for Defendant Erica Bergdahl
                                  222 Second Avenue South, Suite 2000
                                  Nashville, TN 37201
                                  (615) 724-3203 (phone)
                                  (615) 724-3303 (facsimile)
                                  alex.little@burr.com
                                  rmjohnson@burr.com
                                  zlawson@burr.com



                                     2

Case 3:21-cv-00368 Document 37 Filed 06/28/23 Page 2 of 3 PageID #: 238
                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing has been delivered to the following persons
via U.S. Mail, the Court’s electronic filing system, or other appropriate means on this 38th day of
June 2023:



 Bradford D. Box, BPR No. 16596                      BURR & FORMAN, LLP
 Attorney for Scottsdale Insurance Company           Attorneys for Erica Bergdahl
 209 East Main Street                                J. Alex Little, BPR No. 029858
 P.O. Box 1147                                       Zachary Lawson, BPR No. 036092
 Jackson, Tennessee 38302-1147                       Ross M. Johnson, BPR No. 036067
 (731) 423-2414–telephone                            222 Second Ave. South, Suite 2000
 (731) 426-8150–facsimile                            Nashville, TN 37201
 bbox@raineykizer.com                                Alex.Little@burr.com




                                                     By: /s/ Suzanne G. Marsh
                                                             Suzanne G. Marsh




                                                3

    Case 3:21-cv-00368 Document 37 Filed 06/28/23 Page 3 of 3 PageID #: 239
